TENT

Case 3:17-mC-80026-LB Document 2-5 Filed 02/28/17 Page 1 of 3

EXH|B|T E

Case 3:17-mC-8Q026-LB Document 2-5 Filed 02/28L17 Page 2 of 3

-L“ DaViS Wrig ht i;;llFfl\(i':rnuc 01` thc Americas
! Tremalne l_|_P Ne“ vork‘NY 10020-1104

Elimbeth .A. .\1c!\'amara
(2!2)439-32301¢|
(2i2) 489-3340 f`a»<

lizmcnamara@dwticom

February 27, 2017
Via Email

Jordan Susman, Esq.

132 South Rodeo Drive, 4th Floor
Beverly Hills, CA 90212
jsusman@hmafirm.com

Re: Hurry v. Financfaf Indust)j) RegulatoryAthority, Inc., l4-cv-04420~NC (D. Ariz.)
Dear Mr. Susman:

We represent William Meagher and write to request that you voluntarily withdraw the
subpoena you served on him on February 14, 2017 demanding that he appear for deposition in
San Francisco on March l (the “Subpoena”). For the reasons set forth below, we believe that
your efforts to compel Mr. Meagher to give up his confidential source(s) and unpublished
ncwsgathering materials are futile. ln order to protect Mr. Meagher"$ rights, please be advised
we intend to file a motion to quash the Subpoena with the United States Court for the Northern
District of California tomorrow, February 28, 2017. However, we have taken this opportunity to
urge you to withdraw the Subpoena before saddling the parties with redundant litigation that will
only serve to prove that Mr. Meagher cannot be compelled to testify.

As a threshold matter, we note that you have failed to comply with the Local Rules of the
Court charged with enforcing the Subpoena, the Northem District of California. Local Rule 30-1
requires that a “party noticing a deposition of a witness who is not a party or affiliated with a
party must also meet and confer about scheduling. . ..” Since you represent the plaintiffs in an
action pending against Mr. Meagher in the District of New l-lampshire, you are aware that we act
as his counsel. Yet you have failed to reach out, as required, to initiate a scheduling conversation
that could have resulted in an efficient resolution Of this dispute. ln light of your protracted
silence, we have been forced to undertake the expense of preparing a motion to quash in order to
guarantee Mr. Meagher’s rights against compelled disclosure in this case.

As you will see from our motion to quash, enforcement of the Subpoena is prohibited by
well-established law. First, California’s shield law provides non-partyjournalists like Mr.
Meagher with a “virtually absolute protection against compelled disclosure.” Milchell v.
Superior Court, 37 Cal. 3d 268, 274 (1984); see also N.Y. Times v. Superz`or Courl, 5l Cal 3d
453, 461 (1990) (“The shield law provides an absolute rather than a qualified immunity.”).
Simply put, since Mr. Meagher is a professional journalist and the Subpoena calls exclusively for

NG-S401`GSZV 4843-4354-5924v.1 0090219-000012

Anl:i\malt_:v Nr:w ¥Olk SimllIr--
Bollr‘vlle F’nr|LJnci 511."1;}|1. ll
Lr)z. Anrpuir\s 3m F!anr:r.<.c r) Wn=.lnm|lr)lt D C \'.'ww clwt.com

Case 3:17-mC-3.Q926-LB Document 2-5 Filed 02/234~17 Page 3 of 3

February 27, 2017
Page 2

confidential newsgathering materials obtained in the course of his professional activities, the
shield law mandates that the Subpoena be quashed

A second, independent reason that the Subpoena must fail is that Mr. Meagher is entitled
to a qualified privilege under the free speech guarantees ofthe cheral and California
constitutions Accordingly, “in a civil action a reporter, editor or publisher has a qualified
privilege to withhold disclosure ofthe identity ofconfidentia| sources and ofunpub|ished
information supplied by such sources." Mr`tche!l, 37 Cal. 3d at 279; see also Sc'hoen v. Schoen, 5
F.3d 1289 (9th Cir. 1993) (establishing similar federal common law privilege). Since the
Subpoena expressly calls for Mr. Meagher’s unpublished notes and since it is clear that the
identity of Mr. Meagher’s confidential sourcc(s) will be a topic of the proposed deposition, you
must make a rigorous showing in order to overcome the privilege This you cannot do. The
following considerations are but a few of the factors that weigh decisively in favor ofnon-
disclosure: Mr. Meagher is a non-partyjournalist, the Subpoena calls for testimony in a civil
action, you have failed to exhaust all other potential sources of information and Mr. Meagher’s
confidential source(s) have a strong interest in remaining free from the possibility of retribution
from your clients. ln sum, the qualified reporters’ privilege, like the California shield law,
requires that the Subpoena be quashed

For all these reasons, which are only briefly summarized, we do not believe that the
Subpoena can be enforced Aecordingly, we repeat our request that you voluntarily withdraw the
Subpoena immediately for the sake of saving both of our clients the expense of more needless
motion practice That said, l would be happy to discuss these issues further with you, ifyou
wish.

This letter does not constitute a complete statement of our clicnts’ rights or remedies with
respect to this matter, all of which are hereby expressly reserved.

Best regards,

EL»L.LJ=L M‘kl--. two

Elizabeth A. McNamara

cc: Thomas R. Burke. Esq. (via email)
John M. Browning, Esq. (via email)
Counsel for parties of record (via email)

